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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      CV 21-7127-JFW(ADSx)                                            Date: October 5, 2021

Title:        Art's Market, et al.-v- United States of America


PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                None Present
              Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER TO SHOW CAUSE RE: STANDING ORDER

        The Court has reviewed the docket in this action and determined that counsel for Plaintiff
has failed to file the Declaration of Lead Counsel required by paragraph 3 of the Court’s Standing
Order. Accordingly, counsel is ordered to show cause in writing by October 7, 2021 why the Court
should not impose sanctions in the amount of $750.00 for violating the Court's Standing Order. No
oral argument on this matter will be heard unless otherwise ordered by the Court. See Fed. R. Civ.
P. 78; Local Rule 7-15. The Order to Show Cause will stand submitted upon the filing of the
response to the Order to Show Cause. Failure to respond to the Order to Show Cause will result
in the imposition of sanctions. In addition, counsel shall file the required Declaration on or before
October 7, 2021.


         IT IS SO ORDERED.




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